                    Case 2:11-cr-00069-MHT-WC Document 154 Filed 05/22/12 Page 1 of 7

AO 245B       (Rev. 09/1]) Judgment in a Criminal Case
vi            Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                  V.                                                 (we)

                ALCHICO DEWAYNE GRANT                                            Case Number: 2:11cr69-MEF-02
                                                                         )       USM Number: 13377002

                                                                         )        Randy Bruce Maddox
                                                                                 DeIndant. Attarney
THE DEFENDANT:
  'pleaded guilty to Couni(S)          19s and 32s of the Superseding Indictment
E pleaded nolo contendere to count(s)
  which was accepted by the court.                                                                                --
El was found guilty on count(s)
   after a pica of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                               Offense Ended             Count

 181343                            Wire Fraud                                                                      4/30/2011                 19s
 18§ 1 028A(a)(1)                  Aggravated Identity Theft                                                       4/30/2011                 32s




   See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
E The defendant has been found not guilty on count(s)
   Count(s) 1-21lndls-18s,20s-31s,33s-40s U is                   dare dismissed on the rnolion of the United States.

         It is ordered that the defendant mist notify the United Slates attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgnien are fully paid. If ordered to pay restitution,
the defendant must notify the corirl and United States attorney of material changes in economic circumstances.

                                                                        5/8/12
                                                                         Date of I nipo i Li on of Judtzmem




                                                                         Signature of Judge


                                                                        Mark F. Fuller, United States District Judge
                                                                         Name oJiidge                                      Title of Judge




                                                                         Daze                                 1
                         Case 2:11-cr-00069-MHT-WC Document 154 Filed 05/22/12 Page 2 of 7
AO 245B         (Rev. 09/t 1) Judgment in a Criminal Case
vi              Sheet 2— Imprisonment

                                                                                                                        Judgment Page: 2 ot'7
     DEFENDANT: ALCUICO DEWAYNE GRANT
     CASE NUMBER: 2:1 1cr69-MEF-02


                                                                     IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      One Hundred Ninety (190) Months. This sentence consists of 166 months on count 19s and 24 months on count 32s, to run
      consecutively. The 120 months of imprisonment imposed in Cr No 2:10cr242-MEF shall run consecutive to the 190 months
      term of imprisonment in this case, for a total term of 310 months.


             The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that the defendant be designated to a facility where drug treatment, treatment for gambling addition
     and medical treatment for any medical problems that defendant may suffer are available.


         VI' The defendant is remanded to the custody of the United States Marshal.

         lii The defendant shall surrender to the United States Marshal for this district:

             LI at                                          LI am.     LI p.m.      on
             LI as notified by the United States Marshal,

         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             LI before                   on

             LI as notified by the United States Marshal.

             ElI as notified by the Probation or Pretrial Services Office.



                                                                          RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                              to

     a                                                        with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                        DEPUTY UNITED STATES MARSHAL
                         Case 2:11-cr-00069-MHT-WC Document 154 Filed 05/22/12 Page 3 of 7

AD 24513          (Rev. 09/11) Judgment in a Criminal Case
vi                 Sheet 3 - Supervised Release


 DEFENDANT: ALCHICO DEWAYNE GRANT                                                                                            Judgment Page: 3 of 7
 CASE NUMBER: 2: I 1cr69-MEF-02
                                                             SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     3 Years. This term consists of three years on Count 19s and 1 year on count 32s, all such terms to run concurrently with
     each other and to the 3 years term of supervised release imposed in 2:10cr242-MEF
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
               The defendant shall not commit another federal, state or local crime.
              The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check. (fapp/Fcab/e.)

     11 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, (1 opplicabie)
     l( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check ([applicable.)

          The defendant shall comply with the Q               of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.)
     El as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if crpphccrble)

     D The defendant shall participate in an approved program for domestic violence. (Check, if crpphcable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
               The defendant must comply with the standard conditions that hare been adopted by this court as well as with any additional conditions
     on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shalt refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforccncnt officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement,
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AO 245B        (Rev. 09111) Judgment in a Criminal Case
vi             Sheet 3C— Supervised Release

 DEFENDANT: ALCHICO DEWAYNE GRANT                                                                         Judgment Page: 4 of 7
 CASE NUMBER: 2:1 1cr69-MEF-02


                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.

     3) The defendant shall provide the probation officer any requested financial information.

     4) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
     in compliance with the payment schedule.

     5) Defendant shall enroll in gamblers anonymous in a gambler's anonymous program or other approved program at the
     direction of the United States Probation Office.
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AO 245B        (Rev. 09111) Judgment in a Criminal Case
vi              Sheet 5—Criminal Monetary Penalties

                                                                                                                            Judgment Page; 5 of 7
 DEFENDANT: ALCHICO DEWAYNE GRANT
 CASE NUMBER: 2:1 1cr69-MEF-02
                                                  CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                             Fine                               Restitution
 TOTALS              $ 200.00                                              $                                    S $494,424.00


 EJ The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (A0245C) will be entered
     after such determination.

 E The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                          Total Loss*                  Restitution Ordered Priority or Pcrcentae

     IRS-RACS ATTENTION: Mail Stop 6261                                               $494,424.00             $494,424.00

     Restitution

     333 West Pershing Avenue

     Kansas City, Missour 64108




 TOTALS                                                                               $494,424.00             $494,424.00


 Ej Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Vf The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Vf the interest requirement is waived for the            El fine              restitution.

            the interest requirement for the              fine     11   restitution is modified as follows:



 * Findings for the total armunt of losses are required under Chatters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B          (Rev. 09(1 1) Judgment in a Criminal Case
VI               Sheet 6—Schedule of Payments

                                                                                                                          Judgment Page: 6 of 7
 DEFENDANT: ALCHICO DEWAYNE GRANT
 CASE NUMBER: 2:1 1cr69-MEF-02


                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of$ 494,624.00                             due immediately, balance due

                     not later than                                  , or
                 " in accordance J C, fl D,                      El E, or            F below; or

 B 7 Payment to begin immediately (may be combined with                      El C,           D, or       F below); or

 C        El Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                      (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D        El Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                      (e.g., months or years), to  commence                      (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E        El Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        Ii" Special instructions regarding the payment of criminal monetary penalties:
               Any balance of restitution at the start of supervision shall be paid at a rate not less than $100 per month.
               Payments to be made to the United States District Court clerk for distribution to the victim.
               All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
               Office Box 711, Montgomery, Alabama 36101.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crirrinal monetary penalties is due during
 imprisonment. All crimnal in          penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financ jal
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



          Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.
          SEE SHEET 6A




     El The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B       (Rev. 09/I1) Judgment in a Criminal Case
vi            Sheet 6A - Schedule of Payments

                                                                                                           Judgment Page: 7 of 7
DEFENDANT: ALCE-IICO DEWAYNE GRANT
CASE NUMBER: 2:1 1cr69-MEF-02

          ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                          Joint and Several        Corresponding Payee,
(including defendant number)                             Total Amount            Amount                 if appropriate

     Alchico Dewayne Grant                                                                    IRS-RACS
     2:11 cr69-MEF-02                                       $494,424.00        $494,424.00


     Melinda Renae Clayton                                                                    IRS-RAC S
     2:11 cr69-MEF-01                                      $494,424.00         $494,424.00


     Veronica Denise Dale                                                                     IRS-RACS
     2:11 cr69-MEF-03                                      $494,424.00         $494,424.00


     Stephanie Adams                                                                          IRS-RACS
     2:11 cr69-ME F-04                                       $52,152.77         $52,152.77


     Valerie Byrd                                                                             IRS-RACS
     2:1 1cr161-WHA-01                                       $65,215.20         $65,215.20
